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            IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                      OFFICE OF SPECIAL MASTERS
                                             No. 12-0804V
                                        Filed: January 17, 2014
                                         (Not to be published)

****************************
STEPHEN LANGLOIS,          *
                           *
              Petitioner,  *                                Attorney Fee and Costs; Stipulation
                           *
     v.                    *
                           *
SECRETARY OF HEALTH        *
AND HUMAN SERVICES         *
              Respondent.  *
****************************

Ron Homer, Esq., Conway, Homer & Chin-Caplan, P.C., Boston, MA, for petitioner.
Althea Davis, Esq., US Dept. of Justice, Washington, DC, for respondent.

                        DECISION ON ATTORNEY FEES AND COSTS1

Vowell, Chief Special Master:

        In this case under the National Vaccine Injury Compensation Program,2 I issued
a decision on September 27, 2013, that awarded compensation pursuant to the parties’
joint stipulation. Petitioner filed his first motion for attorney fees and costs on January 7,
2014. On January 17, 2014, the parties filed a stipulation for attorney fees and costs.
The stipulation indicates that after informal discussions petitioner agreed to amend their
fee application and respondent does not object to the amended amount petitioner is
requesting.

      I find that this petition was brought in good faith and that there existed a
reasonable basis for the claim. Therefore, an award for fees and costs is appropriate,

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post this decision on the United States Court of Federal Claims' website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b), a party has 14 days to identify and
move to delete medical or other information, that satisfies the criteria in 42 U.S.C. § 300aa-12(d)(4)(B).
Further, consistent with the rule requirement, a motion for redaction must include a proposed redacted
decision. If, upon review, I agree that the identified material fits within the requirements of that provision, I
will delete such material from public access.
2
 The applicable statutory provisions defining the program are found at 42 U.S.C. § 300aa-10 et seq.
(2006).
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pursuant to 42 U.S.C. §§ 300aa-15(b) and (e)(1). Further, the proposed amount seems
reasonable and appropriate. Accordingly, I hereby award the total $10,460.633 as
follows:

               a lump sum of $10,110.63 in the form of a check payable jointly to
                petitioner, Stephen Langlois, and petitioner’s counsel of record for
                petitioner’s attorney fees and costs, and

               a lump sum of $350.00 in the form of a check payable to petitioner,
                Stephen Langlois, for his personal litigation costs.

        The clerk of the court shall enter judgment in accordance herewith.4


IT IS SO ORDERED.

                                         s/ Denise K. Vowell
                                         Denise K. Vowell
                                         Chief Special Master




3
 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, 42 U.S.C. § 300aa-15(e)(3) prevents an attorney from charging or collecting fees (including
costs) that would be in addition to the amount awarded herein. See generally Beck v. Sec’y, HHS, 924
F.2d 1029 (Fed. Cir.1991).
4
 Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to seek review.
See Vaccine Rule 11(a).


                                                     2
